EXHIBIT 70
CONFIDENTIAL

11/30/2020 Individualized Education Program for Donquarion Lewis (5681020231)
Student Name: Donquarion Lewis IEP Date: 04/16/2019
GOALS AND OBJECTIVES
Area of Need: Reading Subarea: Reading Fluency and Comprehension

Annual Goal:

By April 2020, Donquarion will progress from reading a grade appropriate text and providing a summary that includes 2 details to
reading various genres of classic, contemporary narrative, and informational texts at grade level and use comprehension
strategies to identify 4-6 important key details, make connections, and inferences with 85% accuracy as measured by grade level
assessments and student work samples.

Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks? OC) Yes@ No

Short-Term Instructional Objectives/Benchmarks:

Objectives/Benchmarks Criteria valuatio Schedule
By April 2020, Donquarion will read various
genres of classic, contemporary narrative, and Grade Level
1/informational texts at grade level and identify 85% Assessments Trimester
the main idea and key concepts by using Student Work Samples

comprehension strategies with 85% accuracy.

By April 2020, Donquarion will read various
genres of classic, contemporary narrative, and
informational texts at grade level and make text
to self, text to text, and text to world
connections by using various comprehension
strategies with 85% accuracy.

Grade Level
85% Assessments Trimester
Student Work Samples

By April 2020, Donqaurion will read various

genres of classic, contemporary narrative, and Grade Level
3} informational texts at grade level and make 85% Assessments Trimester
inferences using various comprehension Student Work Samples

strategies with 85% accuracy.

4

Staff Responsible for Goal: SE Teacher, General Education Teacher

How will progress on goals and objectives be reported
Progress Reporting-Text Option
0 Progress Reporting-Other Option (Specify):
Comments:

When will progress on goals and objectives be reported?
Every Grading Period
(J Other

263
https://psse.kresa.org/templatedocprint.aspx?template=149&doc=485022&sec=687 &child=O&origin=U&cyrs=2017_2016_2015_2014_2013_2012_... 11/7

PLAINTIFFS 00004510
CONFIDENTIAL
11/30/2020

CONFIDENTIAL

Individualized Education Program for Donquarion Lewis (5681020231)

Student Name: Donquarion Lewis

IEP Date: 04/16/2019

Programs and Services

others.

Related Services with General Education and/or Special Education Programs
Direct Service: the primary mode of service is directly working with the student. There may be occasional consultation with

Consultative Service: the primary mode of service is working with the teacher(s) and others having daily contact with the
student. Direct work with the student is occasional

Current IEP Year: From Date 04/16/2019
School Year: 2018-19
Grade: Tenth grade

To Date: 04/14/2020
School Year: 2019-20
Grade: Eleventh grade

Related Start End Service Mode Minutes Sessions Frequen Setting within
Services Date | Date Low | High Low High Location
Min. | Min. | Number | Number
Programs Depart- |Start Date} End Date | Bidg/Location SE GE Total] Frequency
mentalized Min

Low] High| Low} High
Min} Min | Min| Min

Elementary or Secondary-Level @@ YL) N |04/16/2019|04/15/2020|Kalamazoo 50 1835 |1885 [Week
Resource Program Central High
School
Does the student require a reduced day? L) yes @ No
266
https://psse.kresa.org/templatedocprint.aspx?template=149&doc=485022&sec=687 &child=0&origin=U&cyrs=2017_2016_2015 2014 2013 2012... 14/17
PLAINTIFFS 00004513

CONFIDENTIAL
CONFIDENTIAL

2/11/2021 Individualized Education Program for Donquarion Lewis (5681020231)
Student Name: Donquarion Lewis IEP Date: 10/16/2019
GOALS AND OBJECTIVES
Area of Need: Reading Subarea: Reading Fluency and Comprehension

Annual Goal:

By October 2020, Donquarion will progress from reading a grade appropriate text and providing a summary that includes 2
details to reading various genres of classic, conternporary narrative, and informational texts at grade level and use
comprehension strategies to identify 4-6 important key details, make connections, and inferences with 85% accuracy as
measured by grade level assessments and student work samples.

Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks? L] Yes No

Short-Term Instructional Objectives/Benchmarks:

Objectives/Benchmarks Criteria Evaluations Schedule
By October 2020, Donquarion will read various
genres of classic, contemporary narrative, and Grade Level
4| informational texts at grade level and identify 85% Assessments Trimester
the main idea and key concepts by using Student Work Samples

comprehension strategies with 85% accuracy.

By October 2020, Donquarion will read various
Benres of classic, contemporary narrative, and
informational texts at grade level and make text
to self, text to text, and text to world
connections by using various comprehension
strategies with 85% accuracy.

Grade Level
85% Assessments Trimester
Student Work Samples

By October 2020, Dongaurion will read various
genres of classic, contemporary narrative, and Grade Level
3] informational texts at grade level and make 85% Assessments Trimester
inferences using various comprehension Student Work Samples
strategies with 85% accuracy.

4

Staff Responsible for Goal: SE Teacher, General Education Teacher

How will progress on goals and objectives be reported
Progress Reporting-Text Option
0 Progress Reporting-Other Option (Specify):

Comments:

When will progress on goals and objectives be reported?
Every Grading Period
C) Other

278
hitps://psse.kresa.orghemplatedocprinLaspx?lemplale=1498doc=5 15653 sec=687 &child=O80rgin=U&prdoc=¥ 15

PLAINTIFFS 00004525
CONFIDENTIAL
2/11/2021

CONFIDENTIAL

Individualized Education Program for Donquarion Lewis (5681020231)

Student Name: Donquarion Lewis

IEP Date: 10/16/2019

Programs and Services

others.

Related Services with General Education and/or Special Education Progra ms
Direct Service: the primary mode of service is directly working with the student. There may be occasional consultation with

Consultative Service: the primary mode of service is working with the teacher(s) and others having daily contact with the
student. Direct work with the student is occasional

Current JEP Year: From Date 10/16/2019
School Year: 2019-20
Grade: Eleventh grade

To Date: 10/15/2020
School Year: 2020-21
Grade: Twelfth grade

Related Start | End Service Mode Minutes Sessions Frequency) Setting within
Services Date | Date Low | High Low High Location
Min. | Min. | Number | Number
Programs Depart- |Start Date) End Date | EBldg/Location __ SE GE Total|/Frequency;
mentalized Low] High] Low| High} Min
Min) Min | Min} Min
Elementary or Secondary-Level YUN |10/16/2019]10/15/2020|Kalamazoo 50 1835 |1885 Week
Resource Program Central High
School

Does the student require a reduced day? LI Yes 4 No

281

httes://psse.kresa.org/templatedocprint.aspx?lamplate=149adoc=5 156534sec=687&child=0songin=Uséprdocs¥

CONFIDENTIAL

PLAINTIFFS 00004528

12/15
